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Robert F Brennan Es§.(gS. .B. #132449

LAW oFFICEs oF BERT F. B NNAN AP.C.
3150 Montrose Ave.

La Crescenta, Ca. 91214

{:A)Sg 249- 5291
[818] 249- 4329
Ernail: rbrennan@brennanlaw. com

Attorney for: Plaintift` Jeffery Howe

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
Case No.: 12-CV-04954 DMG (SSX)
Hon. Dolly l\/l. Gee

JEFFERY HOWE, an Individual;

Plaimiff,

VS.
Noo FiNANclAL sYsTEMs INC., is %$HI§§§}S§I%§ %§SMISSAL
aCOrpOrain_;n DIRECT V LLC a DEFENDANTS NCO FINANCIAL
business entit form unknown arld SYSTEMS INC AND DIRECTV
DOES] 10, nclusive, LLC

Defendants.

 

Plaintiff Jeffery I-IoWe, Defendant NCO FINANCIAL SYSTEMS, INC., and
Defendant DIRECTV, LLC have entered into a settlement and pursuant to that
settlement stipulate as folloWs:

l. Upon approval by the court, Plaintit`f Jeffery Howe stipulates to dismiss
all claims against Defendants NCO FINANCIAL SYSTEMS, INC. and
DIRECTV, LLC;

2. This stipulation for dismissal is With prejudice;

l
Sti'pulation of Dismissal With Prejudice of Defendants

 

 

 

 

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Case 2:12-cv-O4954-DI\/|G-SS Document 30 Filed 10/17/12 Page 2 of 3 Page |D #:1

3. anh party to pay their own incurred oosts.

Dated: ( V@cg* , 2012 Law ofaces ofnobert F. Brennan, A P.C.

ROISM. Bré¢rrnan, Esq.
Attorney for Plaintiff
Jeffery Howe

Dated: H,L / 7 , 2012 Sessions Fishman Nathan and Israel LLC

By:/{~%%O% ,

Keren E. Gesund, Esq. /"C,A
Attorney for Defendant
NCO FINANCIAL SYSTEMS, INC.

Dated: &/ /7 ,2012 Yu\MohandesiLLP

MW£%¢
By l§;§¢/li)gesi, Esq. @

Attorney for Defendant
DIRECTV, LLC

7
Stipulation of Dismissal With Prejudice of Defendants

 

 

 

 

 

 

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PROOF OF SERVICE

1 am employed in the county of Los Angeles, Sta`te of California. I am over the age of 18
and not a party to the within action; my business address is 3150 l\/lontrose Avenue, La Crescenta,
CA 91214.

On October 17, 2012, I served the foregoing document described as STIPU_LATION
OF DISMISSAL OF PREJUDICE OF DEFENDANTS NC() FINANCIAL SYSTEMS INC
AND DIRECTV LLC on parties in this action,

[ x ] By ECF: On this date, I electronically filed the document(s) with the Clerk of the Court using
CM/ECF system, which sent electronic notification of such filing to the following:

Keren E Gesund

Sessions Fishman Nathan and Israel LLC
3850 North Causeway Boulevard Suite 200
Metairie, LA 70002

504-828-3700

504-828-3737 (f`ax)
kgesund@sessions-law.biz

Ben Mohandesi, Esq.

Yu | Mohandesi LLP

1055 7th St Ste 2150

Lcs Angeles, CA 9001'7 71

(213) 377-5505

Fax Number: (213) 377-5501
e-mail: bmchand'esi@yumollp.com

[ ] As follows: I` am "readily f`arn'iliar" with the firm's practice of collection and
processing correspondence for mailing Under that practice it would be deposited with U.S.
postal service on that same clay with postage thereon fully prepaid at La Crescenta, Calif`ornia in
the ordinary'course of` business l am aware that on motion of party served, service is presumed
invalid if postal cancellation date or postage meter date is more than one clay after date of deposit
for mailing an affidavit

[X ] (Federai) l declare that l am employed in the office of a member of the bar of this court
at Whose direction the service was made.

Executed on Oct_ober 17, 2012, at La Cres_centa, Ci`\ `

 

 

isaberorubbs

 

